Case 4:21-cr-20184-SDK-Cl ECF No. 89, PagelD.369 Filed 09/20/22 Page 1 of 1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America, Case No. 21-cr-20184
Plaintiff, Hon. Shalina D. Kumar
United States District Judge

Vv.

Michael Fraley, Jr.

Defendant.

 

WAIVER OF INDICTMENT

 

I, Michael Fraley, Jr., the defendant in this case, understand that I am being
charged with the following felony: Possession with Intent to Distribute Five or
More Grams of Methamphetamine. I have been informed and understand that any
person charged with a federal felony offense has the right to insist that the case
proceed by way of an indictment returned by a grand jury. Understanding this, and
pursuant to Rule 7(b) of the Federal Rules of Criminal Procedure, I hereby waive

any right to prosecution by indictment and consent that the prosecution may be

   
   

brought by information instead of by indictment.

Michael Fraley, Jr

Defendant C2
acs
é arg

Attorney for Defendant

 

Dated: 1 \20\ 22
